                                                           May 22, 2020

                                                         s/ Daryl Olszewski




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